Case: 3:19-cr-00082-TMR Doc #: 22 Filed: 07/24/19 Page: 1 of 1 PAGEID #: 64

AO 455 (Rev. 01/09) Waiver of an Indictment

UNITED STATES DISTRICT COURT
for the
Southern District of Ohio

United States of America )
Vv. ) Case No. 3:19CRO82-TMR

)

JOHN C. RIAZZI_ )

Defendant )

WAIVER OF AN INDICTMENT

[ understand that | have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, | waive my right to prosecution by indictment and consent to prosecution by
information.

 

———

 

Date: ul “LG

 

 

t's signature

 

 
 
 
 

REER, ESQ.

ented name of defendant sattorney

 
  
   

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/ Nukes signature

JUDGE THOMAS M. ROSE
Judge's printed name and title
